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IN THE UNITED STATES DISTRICT COURT ih

FOR THE WESTERN DISTRICT OF TENNESSEE _
WESTERN DIVISION OSJUL|Z PH 5 us

 

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G. uMBERTo MEDURI, M.D., _r;UQ»-';',‘;;,P;S

Plaintiff,

v. No. 04-2415 Ma/P
THE UNIVERSITY OF TENNESSEE
HEALTH SCIENCE CENTER; HENRY

G. HERROD, M.D., Individually
and in his official capacity;
MICHAEL E. DOCKTER, M.D.,
Individually; and DIANA JOHNSON,
Ph.D., Individually,

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Defendants.

 

ORDER ON PENDING MOTIONS

 

This case arises from various employment actions taken against

Plaintiff. Plaintiff brings claims for constitutional Due Process
and Equal Protection violations under 42 U.S.C. § 1983, employment
discrimination under 42 U.S.C. § 1981, and violation of the
Tennessee Human Rights Act.

Before the court are the Defendants' motion to dismiss, filed
November 19, 2004, Plaintiff’s motion to certify a question of
state law, filed January 12, 2005, and. Defendants' motion to
dismiss the first amended complaint, filed February 17, 2005.
Plaintiff responded to Defendants' motion to dismiss on January 7,
2005 and to Defendants' motion to dismiss the first amended

complaint on April 20, 2005. Defendants responded to Plaintiff's

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with Rule 58 and/or 79(3) FHUP on -

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motion to certify a question of state law on February 17, 2005.
For the following reasons, the November 19 motion to dismiss is
DENIED, the February 17 motion to dismiss is GRANTED in part and
DENIED in part, and the motion to certify a question of state law
is DENIED .

I. Background

Plaintiff alleges the following facts. Dr. Umberto Meduri has
been employed with the University of lennessee Health Science
Center (“UTHSC”) since August, 1988. He is currently a tenured
professor in the Division of Pulmonary and Critical Care Medicine
at the University of Tennessee's College of Medicine. (1st Am.
Compl. I 7.) Dr. Meduri was an Italian citizen until May 2, 2002,
when he became a citizen of the United States.

In 2002, Dr. Meduri was a clinical investigator serving as the
Director of the Memphis Lung Research Program, which he founded in
1996 to treat and conduct clinical investigations of patients with
Acute Respiratory Distress Syndrome (“ARDS”) and sepsis. During
2002, Dr. Meduri and the Memphis Lung Research Program had
contractual research funding from the Assisi Foundation of Memphis
and the Baptist Health Care Foundation, as well as an application
for funding with the University of Michigan for conducting clinical
trials. (Id.)

On or before January 22, 2002, Dr. Meduri decided to replace

Dr. Elizabeth Tolley as the statistician employed in support of his

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ongoing research projects in. ARDS and sepsis. Dr. Meduri’s
decision was made with the knowledge and approval of his superiors,
including Defendant Dr. Henry G. Herrod, Dean of the College of
Medicine. Before removing Dr. Tolley, Dr. Meduri attempted to
correct her performance through the UTHSC administrative process.
(Id. I 10.) In February, 2002, Dr. Tolley met with Defendants Dr.
Diana Johnson, Assistant Dean for Faculty Affairs of the College of
Medicine at UTHSC, and Dr. Michael E. Dockter, Vice Chancellor of
Research at UTHSC and Associate Dean of the College of Medicine, to
file a grievance about her removal from Dr. Meduri's research
projects. (Id. I 12.) Dr. Dockter encouraged Dr. Tolley not to
file a grievance, but to file charges of scientific misconduct
against Dr. Meduri. Dr. Tolley was reluctant to file such charges,
but Dr. Dockter told her that he was UTHSC's “Research Integrity
Officer” (“RIO”) and that he would control any investigation of
alleged scientific misconduct. (Id.)

Before the filing of official charges, Dr. Johnson, with
permission from Dr. Dockter, asked Dr. Barbara Hawkins of Johns
Hopkins University to provide an independent review of the merits
of Dr. Tolley's allegations. The Defendants, however, failed to
provide accurate and complete data to Dr. Hawkins, including any
protocols for the ARDS study. (Id. “ 13.) On May B, 2002, Dr.
Dockter told Dr. Tolley that Dr. Hawkins had recommended that an

investigation be done and that Dr. Tolley must immediately file

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charges of scientific misconduct because Chancellor William Rice
had “jumped the gun” by reporting to Baptist Memorial Healthcare
Foundation, a funding source for Dr. Meduri's research, that UT was
investigating Dr. Meduri for scientific misconduct. (Id. 1 14.) On
or before May 6, 2002, Dr. Dockter had mistakenly informed
Chancellor Rice that there had been a finding of scientific
misconduct against Dr. Meduri. Based.upon that mistake, Chancellor
Rice had notified the Baptist Hospital Memorial Foundation that Dr.
Meduri was the subject of scientific misconduct charges and
requested that the Foundation stop supporting Dr. Meduri's
research. (Id.)

At the insistence of Dr. Dockter and Dr. Johnson, Dr. Tolley
notified the University of her intent to file scientific misconduct
charges against Dr. Meduri. On May 15, 2002, Dr. Tolley filed a
charge of scientific misconduct with Dr. Dockter that contained the
following false statements: that Dr. Meduri had falsified data on
a clinical trial that formed the basis of an academic paper, that
Dr. Meduri had fabricated results of the microbiological
experiments in duplicate publications, and that Dr. Meduri had
engaged in serious ethical deviations from accepted practice in
conducting and reporting the results of two ongoing clinical
trials. (Id. II 15-16.) The Defendants failed to give Dr. Meduri
timely notice, as required by the UTHSC Faculty Handbook's

“Statement of Policy on Misconduct in Research and Service.” (Id.

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1[ 17.)

After the charge of misconduct was made by Dr. Tolley, Dr.
Dockter appointed Dr. Johnson to serve as the chair of an Inquiry
Committee. Under Section 1 of the Misconduct Policy, the purpose
of the inquiry is to gather information to determine whether an
allegation of misconduct warrants an investigation. (Id. I 18.)
Before the charge was filed, Dr. Johnson had worked closely with
Dr. Tolley for at least four months, assisting Dr. Tolley in the
development and preparation of her charge against Dr. Meduri. Dr.
Johnson had insisted that charges of scientific ndsconduct be
filed, that filing charges would address Dr. Tolley's concerns
about Dr. Meduri, and that a grievance about Dr. Tolley’s removal
as statistician would not be necessary. (Id. 19.) Under the
provisions of the Faculty Handbook, as well as the Model Procedures
of the U.S. Office of Research Integrity, (“ORI”), no member of an
inquiry' committee should. have a real or apparent conflict of
interest. (Id. “ 20.)

Fronl May 28, 2002 through January 10, 2003, Dr. Meduri
requested on multiple occasions a copy of the charge and supporting
documentation submitted by Dr. Tolley in order to present his own
evidence to refute the charge. Section 1 of the Misconduct Policy
provides for the accused to have an opportunity to “present
evidence orally or in writing as appropriate.” Dr. Dockter and

other officials at the University of Tennessee refused to provide

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Dr. Meduri with the information he requested. (Id. 1 21.)

The Inquiry Board exceeded its authority by making an
adjudication of misconduct and further recommending that an
academic paper written by Dr. Meduri be retracted and that Dr.
Meduri be banned from conducting clinical researoh. Under ORI
Model Procedures and the UT Misconduct Policy, the Inquiry
Committee is empowered only to determine whether sufficient grounds
exist for conducting an investigation. (Id. 1 22.) On September 5,
2002, Dr. Meduri wrote a letter to Chancellor' Rice outlining
various objections to the procedures followed by the Inquiry
Committee. (Id. 1 23.) On September 12, 2002, Chancellor Rice
agreed that the Inquiry Committee had not followed the appropriate
procedures and that a new inquiry would begin and be concluded by
November 1, 2002. (Id. 1 24.) on october 14, 2002, chancellor Rice
required that the withdrawn inquiry report be sequestered and
maintained exclusively with the University of Tennessee (“UT”)
Office of General Counsel. (Id. 1 25.) Against the wishes of
Chancellor Rice, Dr. Dockter asked Dr. Johnson to release, as soon
as possible, the results of the Inquiry Committee’s conclusions to
Dr. Tolley. (Id. 1 26.) After October 14, 2002, the first inquiry
report was circulated to prominent faculty members at the
University of Tennessee, Memphis. (Id. 1 27.)

In late October, 2002, after having been removed from the

inquiry process, Dr. Johnson organized a meeting with Doctors

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Herrod and Dockter and Dr. Clair Cox, Chairman of the Institutional
Review Board of the University of Tennessee, at which Dr. Johnson
requested that disciplinary action be taken against Dr. Meduri.
(Id. 1 28.) Dr. Johnson gave Dr. Cox a portion of Dr. Tolley’s
charge of scientific misconduct, as well as the sequestered report
of the Inquiry Committee. Dr. Johnson also requested that Dr. Cox
discuss this information at a meeting of the Institutional Review
Board in order to remove Dr. Meduri as principal investigator in
several research projects. (Id. 1 29.) Dr. Johnson also suggested
that a portion of Dr. Tolley's charge of scientific misconduct and
the report be sent to the Institutional Review Board for immediate
review and recommendations. Doctors Herrod and Dockter agreed to
this plan, and the materials were submitted to the entire
Institutional Reviemr Board. (Id. 11 30.) Doctors Johnson and
Dockter asked the Institutional Review Board to take disciplinary
action against Dr. Meduri. Under the UT Misconduct Policy and ORI
Model Procedures, information surrounding an allegation of
scientific misconduct is considered confidential and disclosure to
individuals inside or outside the University of Tennessee is
prohibited except on a “need to know” basis. (Id. 11 31-32.)

On November 1, 2002, Dr. Dockter appointed a second inquiry
board. One of the three board members was Dr. Timothy Fabian, who
had a long professional relationship with Dr. Tolley. ORI Model

Procedures provide that Dr. Dockter, as RIO, must consider, in

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ensuring impartiality, whether a board member had been a co-author,
collaborator, or co-investigator with the accused or accuser. Dr.
Meduri alleges that Dr. Dockter knew or should have known of Dr.
Fabian's past collaboration and co-authorship with.Dr. Tolley. (Id.
1 35.) On December 16, 2002, Dr. Meduri was questioned by the
second Inquiry Committee without having been informed of the
evidence or charges against him. The committee did not recall Dr.
Meduri for questioning. On December 30, 2002, Acting Chancellor
Jim Gibb Johnson informed Dr. Meduri that the Inquiry Committee had
recommended an investigation of some of the charges filed by Dr.
Tolley. (Id. 11 36-37.)

On January 13, 2003, Dr. Meduri was allowed to see some of the
charges filed by Dr. Tolley. On January 24, Dr. Meduri requested
unsuccessfully that Dr. Dockter be removed as the RIO. On January
28, Dr. Meduri was notified that a full committee investigation of
the charges would be commenced. (Id. 11 39-41.) Dr. Dockter
appointed five members to the Investigation Committee. The only
member of the Investigation Committee with expertise in ARDS or
critical care was Dr. Martin Croce, who was actively collaborating
with Dr. Tolley and eventually published a journal article with
her. (Id. 1 42.) ORI Model Procedures require that Dr. Dockter, as
the RIO, must consider whether a Inember of the investigation
committee has been a collaborator or co-author with the accused or

accuser. (Id.) The UT Misconduct Policy requires further that the

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Committee “will include a minimum of three University of Tennessee
faculty members having expertise in the area of research or service
under investigation and who do not hold administrative
appointment.” (Id. 1 43.)

The Chair of the Investigation Committee was Dr. Terrance
Ackerman, who had participated in an earlier meeting of the Data
and Safety Committee on December 12, 2001, at which Dr. Tolley’s
allegations against Dr. Meduri were discussed. (Id. 1 44.) Dr.
Dockter and Dr. Tolley had also discussed with Dr. Ackerman on
other occasions the sequestered report and the conduct of the first
Inquiry Committee. Dr. Meduri requested that Dr. Ackerman be
removed as Chair of the Committee, but this request was denied.
(Id. 145.)

On May 5, 2003, Dr. Meduri received a draft of the Report of
the Investigation Committee, which found no scientific misconduct.
In May, 2003, Dr. Meduri discussed resolving the charges with Dr.
Ackerman and UT Assistant General Counsel, neither of whom
mentioned the existence of an alternative draft. On May 14, 2003,
Dr. Meduri decided not to sign an agreement resolving the charges
of scientific misconduct and waiving all claims that he might have
against the University and its employees. Shortly thereafter, Dr.
Meduri received, without notice, an alternative draft report
finding him guilty of scientific misconduct. (Id. 1 46.)

On May 16, 2003, the Committee held its final meeting without

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giving Dr. Meduri time to prepare a response to the new draft
committee report. At the time of the oral presentation, Dr. Meduri
realized that some of the materials he had submitted on May 9, as
well as the letter of support from the members of his division, had
not been given to the members of the Committee. Those materials
were not mentioned in the Investigation Committee's final report.
(Id. 1 47.) Despite several factual errors, the Acting Chancellor
accepted the report of the Investigation Committee and notified Dr.
Meduri on June 13, 2003, that he upheld the Committee's finding of
scientific misconduct and recommended sanctions against Dr. Meduri.
(Id. 11 48-50.)

On July 24, 2003, Dr. Herrod imposed the following sanctions
against Dr. Meduri: 1) removing him as principal investigator on
any research project for a period of twenty-four (24) months,
retroactive to July 1, 2003, 2) prohibiting him from applying for
any research project while on the faculty of UTHSC for twenty-four
(24) months, retroactive to July 1, 2003, 3) removing all
laboratory space assigned to him and prohibiting him from
conducting research while a faculty member at UTHSC unless
supervised by Dr. Herrod, 4) requiring him to retract an article
published in the Journal of the American Medical Association on
July 8, 1998, as well as any related articles, 5) ordering him to
cease and desist from all conversations with other faculty members,

fellows, residents, or anyone else on University'property about the

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Committee's investigation or report. As a result of these
sanctions, Dr. Meduri and the Memphis Lung Research Program lost
more than $2.5 million in funding. (Id. 11 54-55.)

On July 28, 2003, Dr. Meduri appealed the decision to the
President of the University of Tennessee. (Id. 1 57.) The ORI also
reviewed the final investigative report and supporting materials.
The ORI refused to pursue the scientific misconduct finding against
Dr. Meduri made by UTHSC and, on December 12, 2003, notified Dr.
Meduri that he is eligible to apply for and receive federal
research funding without restrictions. (Id. 1 58.) On October 12,
2004, Interim Chancellor Rice reversed the previous decision
finding scientific misconduct and rescinded the sanctions against
Dr. Meduri. Dr. Meduri’s research programs, however, have not been
restored, various specimens have not been returned to Dr. Meduri,
research monies have not been reinstated, and Dr. Meduri’s full
salary has not been restored. Further, Dr. Meduri has requested a
name-clearing hearing before the Faculty and Fellows of the
Department of Medicine, and none has been held. (Id. 1 60.)

The Defendants have received allegations of scientific
misconduct against other professors who were not foreign»born or
Italian. On those other occasions, the Defendants did not
encourage the filing of charges and did not violate the provisions
of the UT Misconduct Policy and/or ORI Model Procedure. Dr. Meduri

alleges that the actions against him were taken because of his race

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and/or national origin. (Id. 1 61.)
II. Jurisdiction

Plaintiff brings claims for constitutional Due Process and
Equal Protection violations under 42 U.S.C. § 1983, employment
discrimination under 42 U.S.C. § 1981, and violation of the
Tennessee Human Rights Act. Thus, the court has federal‘question
jurisdiction under 28 U.S.C. § 1331. The court has jurisdiction
over pendant state claims under 28 U.S.C. § 1367(a).
III. Legal Standard

Under Federal Rule of Civil Procedure 12(b)(6), a defendant
may move to dismiss a plaintiff's complaint “for failure to state
a claim upon which relief can be granted.” When considering a
12(b)(6) motion to dismiss, a court must treat all of the well-
pleaded allegations of the complaint as true, Saylor v. Parker Seal
-QQ;, 975 F.2d 252, 254 (6th Cir. 1992), and must construe all of
the allegations in the light most favorable to the plaintiff.
Scheuer v. Rhodes, 416 U.S. 232, 236 (1974) (abrogated on other
grounds). “A court may dismiss a complaint only if it is clear
that no relief could be granted under any set of facts that could
be proved consistent with the allegations.” Hishon. v. King &
spalding 467 U.s. 69, 73 (1984).
IV. Analysis

A. Motion to Dismiss Filed November 19, 2004

Since the Defendants filed their original motion to dismiss,

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Dr. Meduri has filed an amended complaint, and the Defendants have
filed another motion to dismiss that complaint on substantially
identical grounds. Thus, the November 19 motion to dismiss is
DENIED as moot.

B. Motion to Certify Question of State Law

Tennessee law allows individuals to bring monetary claims
before the Tennessee Claims Commission (“TCC”) based on acts or
omissions of state employees. ee Tenn. Code Ann. § 9-8-307(a).
Dr. Meduri filed complaints with the Tennessee Claims Commission,
on May 14, 2003, and January 12, 2004. Both complaints allege
defamation and invasion of privacy, and the second complaint also
alleges breach of contract. The Defendants move for dismissal
based on Tenn. Code Ann. § 9-8-307(b), which states:

Claims against the state filed pursuant to subsection (a)

shall operate as a waiver of any cause of action, based

on the same act or omission, which the claimant has

against any state officer or employee. The waiver is

void if the commission determines that the act or

omission was not within the scope of the officer's or

employee’s office or employment.
The Defendants argue that Dr. Meduri has waived his federal claims
by filing a complaint before the TCC.

Dr. Meduri requests that the following question be certified
under Tennessee Supreme Court Rule 23:

Whether the waiver provision of the Tennessee Claims

Commission. Act, i.e., Tenn. Code Ann. § 9-8-307(b),

applies to 42 U.S.C. § 1983 claims brought in federal

court against state employees in their individual
capacities.

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The two prior TCC complaints and the instant suit appear to be
based on the same events, i.e., the actions surrounding UTHSC’s
investigation of Dr. Meduri and the subsequent sanctions for
scientific misconduct. Indeed, Dr. Meduri states that “the above
question of state law will be determinative of the outcome of this
case....” (Pl. Mot. to Certify at 1.)

United States courts in the Sixth Circuit, interpreting
Tennessee law, have consistently held that the waiver provision in
Tenn. Code Ann. § 9-8-307 applies to claims under federal law. §§§L
e.g., White v. Gerbetz, 860 F.2d 661 (6th Cir. 1988); Bryant-Bruce
v. Vanderbilt Univ., Inc., 974 F. Supp. 1127, 1135-36 (M.D. Tenn.
1997); Mirabella v. University of Tennessee, 915 F. Supp. 925, 926
(E.D Tenn. 1994). The Eastern Section of the Tennessee Court of
Appeals found the Sixth Circuit authority persuasive and held that
the plaintiff's state law claims would be waived unless the Claims
Commission determined that the actions by the defendants were
outside the scope of their employment. Ferguson v. Hope, 1999 WL
552877 (Tenn. Ct. App. 1999). The Middle Section of the Tennessee
Court of Appeals, however, determined that filing a claim before
the Claims Commission did not require dismissal of the plaintiff’s
constitutional claims in state court. Wellington v. Ledford, 1999
WL 499776, at *6-7 (Tenn. Ct. App. 1999); see also Lattimer v.
Tennessee Department of Corrections, 2002 WL 598558, at *4-5 (Tenn.

Ct. App. 2002).

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This court has previously addressed the existing authority on
the present question and concluded that the Tennessee Supreme Court
would adopt the interpretation of the Sixth Circuit and the Eastern
Section of the Tennessee Court of Appeals. See Pierce v. University
of Tennessee, Order Granting Motions to Dismiss, No. 01-2940 (W.D.
Tenn., May 15, 2003). Dr. Meduri has not offered any other
authority or argument that would suggest a different conclusion in
this case. The waiver provision states that the filing of a claim
with the Commission “shall operate as a waiver of any cause of
action, based on the same act or omission.” Tenn. Code Ann. § 9-8-
307(b). Although the waiver is “void” if the Commission determines
that the employee was not acting within the scope of the employee's
office or employment, there is no condition qualifying the waiver
until the Commission makes that determination. gee idg Thus, if a
Plaintiff files a claim with the Commission, that Plaintiff is
precluded from maintaining a federal or state claim in federal or
state court until the waiver is voided, and the federal or state
lawsuit must be dismissed.

Dr. Meduri has brought to the court's attention a recent order
from the United States District Court for the Eastern District of
Tennessee certifying the following question of state law to the
Tennessee Supreme Court:

Does the withdrawal or voluntary non-suit of a claim

filed with the Tennessee Claims Commission, done prior to

any action being taken by the Claims Commission, still
activate the waiver provision of Tennessee Code Annotated

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§ 9-8-307(b) to require dismissal of a plaintiff's
federal and/or state cause of action arising from the
same act or omission as the claim before the Claims

 

Commission?
Haley v. University of Tennessee, Knoxville, Order of
Certification, No. 3:03-CV-292 (E.D. Tenn.)l Although the

certified question is related to the broader question of waiver, it
does not require the Tennessee Supreme Court to address the issue
raised by Dr. Meduri.2 In fact, the certified question appears to
assume that a claim brought before the TCC generally operates to
waive a federal cause of action arising from the same conduct.
Thus, the fact that a related. question. is pending before the
Tennessee Supreme Court does not support certification. of the
question presented by Dr. Meduri. Given the precedent from the
Sixth Circuit and the Eastern Section of the Tennessee Court of
Appeals, the court declines to certify the proposed question.

C. Motion to Dismiss Filed February 17, 2005

1. Waiver

The Defendants' nmtion to dismiss rests, in part, on the
argument that Dr. Meduri has waived his right of action by filing
claims before the TCC. Dr. Meduri argues, however, that certain of

his claims do not arise from the same “act or omission” as his TCC

 

1 The exact date of the Eastern District's order is unclear. From the
record, the court assumes that it is recent.

1 The Tennessee Supreme Court could hold that, whether or not § 9-8-
307(b) applies generally, a plaintiff's voluntary withdrawal or non-suit of a
claim before the Claims Commissions means that § 9»8-307(b) no longer requires
dismissal.

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claims and are not, therefore, barred by Tenn. Code Ann. § 9-8-
307(b). Dr. Meduri’s two TCC complaints contain statements of fact
substantially similar to the statement in the first amended
complaint and allege causes of action for defamation, invasion of
privacy, and breach of contract. Dr. Meduri argues that his TCC
claims are based only on the Defendants’ conduct in publishing
false statements arising from the misconduct investigation and that
his procedural allegations, specifically the failure to disclose
charges and evidence against him and the alleged conflicts of
interest of various board members, are not the basis of his TCC
claims.

Dr. Meduri’s second TCC complaint alleges that

Dr. Michael Dockter selected Dr. Dianna3 [sic] Johnson to

serve as Chairman of the Inquiry Board even though he

knew that Dr. Johnson helped Dr. Tolley develop

allegations against Dr. Meduri and that she had already

concluded that Dr. Meduri had engaged in scientific

misconduct. Under the provisions of the Faculty

Handbook, as well as the Model Procedures of the ORI, no

member of an inquiry committee should have a real or

apparent conflict of interest. Due to Dr. Johnson’s

active assistance of Dr. Tolley in developing the charges

and actual bias against Dr. Meduri, Dr. Johnson should

not have served on the inquiry committee because of a

real and/or apparent conflict of interest.

(2d. TCC Compl. 1 12; see also Am. Compl. 11 18-19.)4 He further

 

3 In the style of this case. Dr. Johnson is referred to as “Diana." In
the prior TCC complaints, her first name is spelled “Dianna."

‘ Although the texts of Plaintiff's TCC complaints are outside the
pleadings, the court may take judicial notice of them as a matter of public
record in deciding a motion to dismiss under Fed. R. Civ. P. 12(b). §§§
Mirabella v. University of Tennessee, 915 F. Supp. 925, 926 (E.D. Tenn.
1994)(Citing U.S. v. Wood, 925 F.2d 1580, 1582 (7th Cir. 1991)).

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alleges that Doctors Dockter and Johnson “refused to provide Dr.
Meduri with a copy of the charges and supporting documentation
submitted by Dr. Tolley despite provisions of the Faculty Handbook
and Model Procedures of the ORI that require the disclosure to a
party accused of scientific misconduct of the charges and
supporting documentation.” (Id. 1 14.) Dr. Meduri argues that
these allegations are “necessary to explain the publication of the
sequestered report,” but that they do not allege conduct from which
his TCC claims arise.

Dr. Meduri’s second TCC complaint states, categorically, that
“[t]he actions of Dr. Michael Dockter, Dr. Dianna Johnson and Dean
Herrod constitute” defamation, invasion of privacy, and breach of
contract. (Id. 11 32-34.) In particular, Dr. Meduri cites the UT
Faculty Handbook as setting forth binding contractual provisions
that the Defendants violated. (Id. 1 34.) These factual
allegations, which specifically invoke the Defendants' violations
of procedure contained in the UT Faculty Handbook, are not mere
background explanation, but constitute elements of Meduri's TCC
claim for breach of contract. Because Dr. Meduri’s TCC claims were
based on the above alleged conduct, claims before the court that
are based on the same conduct must be dismissed.

Dr. Meduri’s amended complaint also contains allegations that
are not in either of his TCC complaints. In particular, he alleges

that the final decision finding him guilty of scientific misconduct

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and imposing sanctions was based on his race and/or ethnicity.
Because these decisions are not mentioned in either of his TCC
complaints, Dr. Meduri has not waived the cause of action based on
that conduct. In addition, Dr. Meduri contends that the following
wrongful acts alleged in the amended complaint are not contained in
the TCC complaints: 1) that Dr. Dockter appointed a biased member
to the second Inquiry Board and that this Board did not give Dr.
Meduri an opportunity to respond to adverse evidence, 2) that Dr.
Johnson denied his request to remove Dr. Dockter from the position
of RIO, 3) that the Investigation Committee contained members who
had conflicts of interest, 4) that the Investigation Committee
first drafted a report finding no scientific misconduct and only
issued its eventual report after Dr. Meduri refused to waive all
legal claims against UTHSC and its employees, and 5) that the
Investigation Committee ignored evidence and reached an erroneous
final report finding scientific misconduct.

The court agrees that these allegations are contained only in
the first amended complaint and not in either of the TCC claims.
Defendants argue, without citing any authority, that these acts are
“part and parcel” of Dr. Meduri's TCC claims. Although the acts
alleged in the amended complaint and the TCC complaints appear to
constitute a general course of conduct, the court will not construe
Tenn. Code Ann. § 9-8-307(b) to bar claims based on acts that are

not alleged in a TCC complaint. Thus, Dr. Meduri has not waived

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his claims arising from the acts first alleged in the amended
complaint; these include his discrimination claim and the due
process and equal protection claims arising from the five factual
allegations listed above. Any other claims arising from acts
alleged in either of the TCC complaints have been waived and must
be dismissed.

2. Statute of Limitations

The parties agree that a one-year statute of limitations
applies to claims brought under 42 U.S.C. § 1983.5 §§§ Tenn. Code
Ann. § 28-3-104. On June 3, 2003, the Investigative Committee
found Dr. Meduri guilty of scientific misconduct and issued its
recommendation of sanctions. Dr. Meduri filed this lawsuit on June
2, 2004. The Defendants argue that Dr. Meduri's claims arising
from various procedural deprivations are time barred because the
alleged deprivations occurred before June 2, 2003. Dr. Meduri
contends that claims arising from those acts are preserved under
the “continuing violation theory.”

Many of the procedural violations are alleged to have occurred
more than one year before Dr. Meduri filed suit. Those violations,
however, were part of an ongoing investigation that was not
concluded until June 2, 2003. A due process violation occurs when

a plaintiff is actually deprived of “life, liberty, or property,”

 

5 Because the statute of limitations for claims under 42 U.S.C. § 1981
is four years, the parties do not dispute that those claims were timely filed.

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not when he is denied pre-deprivation. process. gee Lawshe v.
Simpson, 16 F.3d 1475, 1479 (7th Cir. 1994). Thus, a procedural
due process claim generally accrues when the plaintiff is notified
that he will receive no further process, or when the he is actually
deprived of the protected property interest. gee Knox v. Davis, 260
F.3C1 1009, 1015 (9th Cir. 2001); Lawshe, 16 F.3d at 1480. TO hold
otherwise would encourage public employees to interrupt ongoing
hearings and/or investigations by filing suit; public employers
would. be encouraged to delay' issuing final decisions on such
hearings until after the limitations period had passed on
procedural violations.

The Investigative Committee did not reach its decision until
June 3, 2003, and sanctions were not imposed on Dr. Meduri until
July 24, 2003. Because Dr. Meduri filed suit within one year of
both of those actions, his remaining claims under § 1983 are timely
filed.

3. Due Process Claims

Dr. Meduri was not discharged from his position as a tenured
professor. Rather, he was subjected.to the following sanctions: 1)
removal as principal investigator on any research project for a
period of twenty-four (24) months, retroactive to July 1, 2003, 2)
prohibition from applying for any research project while on the
faculty of UTHSC for twenty-four (24) months, retroactive to July

1, 2003, 3) removal of all laboratory space assigned to him and

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prohibition from conducting research while a faculty member at
UTHSC unless supervised by Dr. Herrod, 4) retraction of an article
published in the Journal of the American Medical Association on
July 8, 1998, as well as any related articles, 5) prohibition from
conversing' with other faculty' members, fellows, residents, or
anyone else on University property about the Committee‘s
investigation or report.6

The Defendants contend that Dr. Meduri has not been deprived
of property interests sufficient to trigger the protections of the
Due Process Clause of the United States Constitution. Property
interests are not created by the Constitution, but are instead
defined “by existing understandings, such as contracts, that stem
from an independent source such as state law.” Pinelo v. Northern
Kentuckv Universitv, 142 F.3d 435, at *3 (6th Cir.
1998)(table)(citing Cleveland Bd. of Educ. v. Loudermill, 470 U.S.
532, 538 (1985). Dr. Meduri has suffered a deprivation of property
if the Defendants have “significantly and materially impaired [his]
agreed employment status.” Samad v. Jenkins, 845 F.3d 660, 662-63
(6th cir. 1988).

Construing the allegations in the light most favorable to Dr.
Meduri, the court cannot conclude that Dr. Meduri can prove no set
of facts showing that his employment status was “significantly and

materially impaired,” thus causing him “substantial tangible harm.”

 

‘ The sanctions have since been reduced or rescinded.

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ldg at 662. Because Dr. Meduri has alleged that his ability to
perform research has been drastically reduced, he has stated a
claim for deprivation of a property interest in his professorship.
See, e.q., Gies v. Flack, 1996 WL 1671234, at *4 (S.D. Ohio
1996)(finding that tenured professor stated a claim for property
deprivation where he was denied teaching assignments and contact
with students).

The Defendants further contend that Dr. Meduri has failed to
state a claim for deprivation of a liberty interest. “[W]hen a
plaintiff alleges the loss, infringement or denial of a
governmental right or benefit previously enjoyed by him, coupled
with communications by government officials having a stigmatizing
effect, a claim for deprivation of liberty without due process will
lie.” Mertik V. Blalock, 983 F.2d 1353, 1362 (6th Cir. 1993).
Reading the allegations in the light most favorable to Dr. Meduri,
the public disclosures surrounding the misconduct investigation
carry a stigmatizing effect. Because the stigmatizing publication
occurred as an incident to the alleged property deprivation, Dr.
Meduri also states a claim for deprivation of a liberty interest.
se_e igl_._ at 1363.

4. Sovereign Immunity

The Defendants argue that the doctrine of sovereign immunity
bars claims against UTHSC, Dr. Herrod in his official capacity, Dr.

Dockter in his official capacity, and Dr. Johnson in her official

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capacity. As a preliminary matter, the first amended complaint
names only Defendant Herrod in his official capacity.
Consequently, the court dismisses any official-capacity claims
against Doctors Dockter and Johnson. Because Dr. Meduri agrees
that all federal claims against UTHSC are barred, the court
dismisses those claims, as well. Dr. Meduri further concedes that
any claims for damages against the individual defendants in their
official capacities under § 1983 or § 1981 are barred.

Dr. Meduri contends, however, that he seeks prospective

injunctive relief available under Ex Parte Young, 209 U.S. 123

(1908). Specifically, Dr. Meduri seeks the restoration of
“position and benefits enjoyed ... prior to Defendants'
violations....” The Defendants argue that Dr. Meduri has no claim

for injunctive relief because the sanctions against him have been
rescinded. Dr. Meduri claims that, despite the rescission of the
sanctions, certain research programs, monies, and specimens have
yet to be restored to him. To the extent that the restoration of
these benefits rests on the decisions or actions of private
entities that are not parties to this litigation, the court is
without authority to issue injunctive relief.

Dr. Meduri further requests a name-clearing hearing before the
Faculty and Fellows of the Department of Medicine. This request

for prospective injunctive relief is not barred by the Eleventh

Amendment. See Thorn v. Statel Department of Taxation, 173 F.3d 862

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(Table)(9th Cir. 1999)(citing Quern v. Jordan, 440 U.S. 332, 336-37
(1979)). Because Dr. Meduri has stated a claim against him for
prospective injunctive relief, the court will not dismiss the claim
against Dr. Herrod in his official capacity.

5. THRA Claims

Dr. Meduri agrees that the individual defendants are not
“employers” within the meaning of the Tennessee Human Rights Act
(“THRA”) and that courts of the state of Tennessee have exclusive
jurisdiction over his THRA claims against UTHSC.7 Thus, the court
dismisses Dr. Meduri's THRA claims, without prejudice to Dr.

Meduri's right to file his claim against UTHSC in state court.

 

7 Dr. Meduri actually concedes only that his THRA claims against the
individual Defendants “in their individual capacity” should be dismissed.
Because the THRA claims against state employees in their official capacities
are functionally equivalent to claims against the state, the official-capacity
claims are redundant, and the jurisdictional limitation applies to theml as
well. §§§ Stefanovic v. University of Tennessee, 935 F. Supp. 944, 946-47
(E.D. Tenn. 1996)(citing Florida Deot. of Health and Rehabilitative Services

v. Florida Nursing Home Association, 450 U.S. 147 (1981));see also Boyd v.
Tennessee State University, 848 F. Supp. 111, 114 (M.D. Tenn. 1994).

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V. Conclusion

For the foregoing reasons, the November 19, 2004 motion to
dismiss is DENIED as moot, the February 17, 2005 motion to dismiss
is GRANTED on the claims arising from Plaintiff's TCC complaints,
on official-capacity claims against Doctors Dockter and Johnson, on
all federal claims against UTHSC, and, without prejudice, on all
claims under the THRA. The motion to dismiss is DENIED on all other
claims. Plaintiff's motion to certify a question of state law is

DENIED.
so oRDEREn this l?-&day of July 2005.

(MM/-L__.

SAMUEL H. MAYS, JR
UNITED STATES DISTRICT JUDGE

 

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